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                         Exhibit 2

            Redline - Revised Order against Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re                                                     Chapter 11

    Lordstown Motors Corp., et al.,1                          Case No. 23-10831-MFW

                                                              (Jointly Administered)

                                       Debtors.                 Re: D.I. 437


           REVISED ORDER GRANTING RELIEF FROM THE AUTOMATIC
            STAY, TO THE EXTENT APPLICABLE, TO PERMIT PAYMENT,
      REIMBURSEMENT AND/OR ADVANCEMENT OF DEFENSE COSTS AND FEES
       AND RELATED EXPENSES TO EDWARD HIGHTOWER AND ADAM KROLL
             UNDER DIRECTORS AND OFFICERS INSURANCE POLICIES

            Upon the motion (the “Motion”)2 of Edward Hightower and Adam Kroll for the entry of

an order granting relief from the automatic stay, to the extent such stay applies, to permit the

Insurers to advance and pay proceeds, including covered defense costs, of Debtors’ directors and

officers liability insurance policies to or on behalf of Messrs. Hightower and Kroll, and to enter

into settlements (subject to the district court’s approval) (“Covered Costs”) on behalf of Messrs.

Hightower and Kroll in the Securities Litigation; and this Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that

this Court may enter a final order consistent with Article III of the United States Constitution;

and this Court having found that venue of this proceeding and the Motion in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief


1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corporation (“LMC”) (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The
Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.
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requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and other

parties in interest; and due and sufficient notice of the Motion having been given under the

particular circumstances; and this Court having reviewed the Certification of Counsel Regarding

Revised Order Granting Relief From the Automatic Stay, to the Extent Applicable, to Permit

Payment, Reimbursement and/or Advancement of Defense Costs and Fees and Related Expenses

to Edward Hightower and Adam Kroll Under Directors and Officers Insurance Policies [Docket

No. 897]; and it appearing that no other or further notice need be provided; and after due

deliberation thereon; and good and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.       The Motion is GRANTED as set forth herein.

       2.       To the extent applicable, the automatic stay is modified solely to the extent

necessary to permit and authorize the Insurers to make payments to or for the benefit of Messrs.

Hightower and, Kroll, and Ninivaggi for the reimbursement and payment of Covered Costs

incurred in connection with the Securities Litigation, under and in accordance with the terms of

the D&O Policies.

       3.       The payments contemplated in this Order may include both Covered Costs that

remain outstanding as a result of the Debtors’ Chapter 11 bankruptcy filings, as well as Covered

Costs that have and may continue to be incurred by Messrs. Hightower and, Kroll, and Ninivaggi

unless or until the Covered Costs no longer qualify as covered Losses under the terms of the

D&O Policies.

       4.       Nothing in this Order shall modify or alter the terms of the D&O Policies or the

parties’ contractual rights and obligations thereunder.




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       5.         Nothing in this Order shall preclude Messrs. Hightower and, Kroll, and Ninivaggi

from, at any time, by motion or further stipulation, seeking further access to other insurance

policies, nor shall the Debtors or official committee of unsecured creditors, the Official

Committee of Unsecured Creditors or the Official Committee of Equity Security Holders be

precluded from opposing such request.

       6.         The terms and conditions of this Order are immediately effective and enforceable

upon its entry.




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    Litera Compare for Word 11.4.0.111 Document comparison done on
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Style name: Compare All
Intelligent Table Comparison: Active
Original DMS:
iw://beneschlaw-mobility.imanage.work/BENESCH/23280276/3
Modified filename:
C:\Users\swalsh\AppData\Roaming\iManage\Work\Recent\Hightower_ Edward
- Lordstown Motors Corp._ et al. (72703.2)\Lordstown - Revised Proposed
Bankruptcy Comfort Order - Ninivaggi(23610482.1).docx
Changes:
Add                                                           12
Delete                                                        8
Move From                                                     0
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Table Insert                                                  0
Table Delete                                                  0
Table moves to                                                0
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Embedded Graphics (Visio, ChemDraw, Images etc.)              0
Embedded Excel                                                0
Format changes                                                0
Total Changes:                                                20
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     MARY F. WALRATH
     UNITED STATES BANKRUPTCY JUDGE
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                                2:40:45 PM
Style name: Adds Double Underline, Delete Strikethrough
Intelligent Table Comparison: Active
Original filename: Lordstown - Order Granting Stay Relief.docx
Modified DMS: iw://cloudimanage.com/US/300419454/3
Changes:
Add                                                          21
Delete                                                       35
Move From                                                    0
Move To                                                      0
Table Insert                                                 1
Table Delete                                                 0
Table moves to                                               0
Table moves from                                             0
Embedded Graphics (Visio, ChemDraw, Images etc.)             1
Embedded Excel                                               0
Format changes                                               0
Total Changes:                                               58
